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                                                                           Jonathan E. Perlman, Receiver
                                                                              Telephone: 1-844-879-7694
                                                        Email: info@worldpatentmarketingreceivership.com


   VIA-E-MAIL

                                            March 23, 2017


          RE:     Federal Trade Commission v. World Patent Marketing Inc., et al.
                  Case No. 17-cv-2048-GAYLES, United States District Court (S.D. Fla.)

   Dear Current or Former World Patent Marketing Customer:

           On March 7, 2017, the United States Federal Trade Commission filed an enforcement
   action against World Patent Marketing, Desa Industries (the “Companies”) and Scott J. Cooper.
   The Federal Trade Commission alleges that Mr. Cooper used the Companies to engage in
   fraudulent and deceptive trade practices which harm consumers.

          That same day, United States District Judge Darrin P. Gayles (Southern District of
   Florida) entered the enclosed Temporary Restraining Order (“TRO”). The TRO appoints me,
   Jonathan Perlman, Receiver of World Patent Marketing and DESA Industries. My job, as Judge
   Gayles ordered, is to assume full control of the Companies, including their assets and operations.
   The TRO also requires me to conduct an investigation of the Companies’ business affairs and
   report my findings to the Court.

           Pursuant to the authority granted to me in Section XIII(D) of the TRO, I have
   temporarily suspended all operations of the Companies, including product marketing, product
   development, patent related services, coordination with and payments to patent agents and
   attorneys and any other services related to obtaining, maintaining and/or the issuance of any type
   of patent.

        IF YOU HAVE AN UPCOMING PATENT RELATED DEADLINE, YOU WILL
   NEED TO SEEK LEGAL ADVICE ON HOW TO PRESERVE YOUR RIGHTS.
   NEITHER THE RECEIVER NOR HIS COUNSEL CAN PROVIDE LEGAL ADVICE
   OR INFORMATION REGARDING THE STATUS OF YOUR PATENT. FURTHER,
   THE RECEIVER IS UNABLE TO PROCESS OR PAY REFUNDS TO CUSTOMERS OF
   THE COMPANIES AT THIS TIME.       YOU MAY OBTAIN INFORMATION
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   REGARDING YOUR PATENT STATUS AT WWW.USPTO.GOV                                        OR    BY
   CONTACTING YOUR PATENT AGENT OR ATTORNEY.

          Updates on the Court case, including copies of Court pleadings and the TRO itself, can
   be    found     on     the     World    Patent   Marketing     Receivership    website      at
   www.worldpatentmarketingreceivership.com. On April 6, 2017, the Court is conducting a
   hearing to determine whether to enter a preliminary injunction and continue the receivership.
   The Court’s order with respect to the requested preliminary injunction will be posted on the
   website as soon as possible thereafter.

            If you have any questions, please contact my office at the number or e-mail provided
   above.



                                               Regards,




                                               Jonathan E. Perlman, Esq.
                                               Court Appointed Receiver
                                               World Patent Marketing, Inc & Desa Industries, Inc.




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